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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION


JANELLE QUINN, individually          )
and on behalf of her minor child     )
D.J.Q. Jr.                           )
                                     )
                                     )
                                     )
Plaintiffs,                          )
                                     )
v.                                   )Civil Action No. 1:22-cv-00051-JRH-BKE
                                     )
COLUMBIA COUNTY                      )
SCHOOL DISTRICT                      )
                                     )
                                     )      JURY TRIAL DEMANDED
                                     )
                                     )
Defendant.                           )


     PLAINTIFF’S STATEMENT OF ADDITIONAL MATERIAL FACTS

                                         1.
On or about February 13, 2015, Ms. Quinn was hired as an MFLC Counselor for
Magellan Behavioral Health (hereinafter “Magellan”), of the Military & Family
Life Counseling Program (MFLC). Doc. 30-4, pg. 15, line 16.
                                         2.
For the 2020-2021 academic term, Ms. Quinn was assigned to Parkway
Elementary and Greenbriar Elementary schools. Doc. 30-4, pg. 17, line 17.
                                         3.
The MFLC counselor program is a federal program that places MFLC counselors
with partnered schools. Doc. 30-7, pg. 11, lines 21-23.

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                                           4.
MFLC counselors are allowed to work within their assigned schools only with the
permission and consent of the local school district. Doc. 30-7, pg. 18, lines 16-23.
                                           5.
While MFLC Counselors remain employees of Magellan, MFLC Counselors are
evaluated twice per year by local school district employees, typically the principals
of the assigned schools. Doc. 30-7, pg. 15, lines 1-9.
                                           6.
MFLC Counselors serve the schools that they are assigned to for the academic
term. If there is no request from the school or the MFLC Counselor, MFLC
Counselors will remain in their assigned school. Doc. 30-7, pg. 17, line 17;
Declaration of J. Quinn, para 14.
                                           7.
MFLC Counselors cannot remain in their assigned school without consent and
approval from the local school district. Doc. 30-7, pg. 18, lines 16-23.
                                           8.
At the time of Ms. Quinn’s assignment to Parkway Elementary, her son, D.J.Q. Jr,
enrolled at Parkway Elementary as a Kindergarten student. Doc. 30-4, pg. 20, lines
7-19. Declaration of J. Quinn, para 11.
                                           9.
Prior to reporting racial discrimination in January 2021, Ms. Quinn had no
knowledge of Magellan’s so-called policy prohibiting MFLC counselors from
working at the same school that their child attends. Magellan’s written conflict of
interest policy does not explicitly prohibit parents from working at the same
schools that their children attend. Declaration of J. Quinn, para 11.
                                           10.
When Ms. Quinn was hired by Magellan in 2015, she was not asked where her son
attended school. Declaration of J. Quinn, para 12.




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                                           11.
When Ms. Quinn was hired by Magellan in 2015, she was not presented with any
conflict-of-interest paperwork to disclose where her son attended school.
Declaration of J. Quinn, para 13.
                                           12.
Parkway Elementary School is a Georgia public elementary school located at 2660
William Few Pkwy, Evans, Georgia 30809. Parkway is located within the
Columbia County School District. Doc. 5, Defendant’s Answer, para. 11.
                                           13.
Columbia County School District is a recipient of federal funds. Doc. 5,
Defendant’s Answer, para. 66.
                                           14.
On January 19, 2021, Jr. came home and told his mother, Ms. Quinn, that he had
“the worst day ever.” Doc. 30-7, pg. 34, lines 21-24.
                                           15.
On January 19, 2021, Ms. Julie Owens, a guidance counselor, employed at
Parkway Elementary School had put a dirty utensil in Jr.’s mouth after he
requested a clean utensil, saying ‘clean that spoon.’ Doc. 30-7, pg. 36, lines 1-2.
                                           16.
On January 20, 2021, Ms. Quinn had a meeting with Dr. Michael Doolittle,
Parkway Elementary Principal and Ms. Julie Owens to address the incident that
had taken place in the cafeteria. Doc. 30-7, pg. 48-49, lines 15-25; lines 1-9.
                                           17.
On January 27, 2021, Ms. Quinn sent out a certified letter to the Superintendent of
Columbia County Schools, Superintendent of Parkway Elementary and to all board
members regarding the incident with her minor son Jr. Doc. 30-7, pg. 51, lines 1-6.
                                           18.
On February 24, 2021, Ms. Quinn met with Principal Doolittle, Dr. Deborah
Williams, and Ms. Julie Owens to express her concerns regarding the school’s
anemic response regarding D.J.Q. Jr., her minor son. Doc. 30-7, pg. 51, lines 15-
25.
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                                           19.
Ms. Quinn expressed her concerns and told the administrators; she felt the incident
was racist and the school’s decision to keep Ms. Julie Owens employed was
unacceptable. Doc. 30-7, pg. 51, lines 15-25.
                                           20.
The February 24, 2021, notes written by Dr. Doolittle, from the meeting between
Ms. Quinn and Defendant revealed that Ms. Quinn told Columbia County School
District that the January 19, 2021, incident was because of D.J.Q. Jr’s black skin.
Doc. 30-5, Exhibit 2.
                                           21.
Michele Sherman, Associate Superintendent of Columbia County School District,
contacted Ms. Beth Welch, Regional Director of Magellan, and supervisor of Ms.
Quinn, via phone and via email on April 29, 2021. Doc. 30-7, pg. 27, lines 14-22.
                                           22.
As a result of D.J.Q. Jr’s traumatic experience, he no longer felt safe and asked his
mother to have him removed from Parkway Elementary and attend another school.
30-4, pg. 109, lines 16-24.
                                           23.
On April 2, 2021, Ms. Quinn sent an email to Tom Smallwood, Hearing Officer at
Columbia County School District requesting a waiver request for Jr. to attend
Greenbrier Elementary. Mr. Smallwood later approved the transfer request. Doc.
30-4, pg. 109, lines 16-24.
                                           24.
Because of the traumatic incident with Ms. Julie Owens, Ms. Quinn had to enroll
her son in counseling services. Jr. attended counseling with Out of the Box
Therapy for several months. Doc. 30-4, Exhibit 5, Out of the Box Counseling
Records.
                                           25.
In her April 29, 2021, email to Director Welch, Superintendent Sherman writes in
relevant part,



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      “Later, the mother [Ms. Quinn] contacted Assistant Superintendent Dr.
      Deborah Williams who also spoke with the mother and assured her that the
      matter was handled appropriately. Following, Ms. Quinn sent certified
      letters to each board member and the school Superintendent Dr. Sandra
      Carraway, which prompted another investigation by our office. Upon
      completion of this investigation, which included a review of video footage,
      Mrs. Quinn was notified that no further action with the counselor was
      warranted. This morning the principal notified me that Mrs. Quinn has filed
      a police report with the Columbia County Sheriff’s Office. At this point, the
      actions of Mrs. Quinn are causing a disruption to the learning environment at
      Parkway Elementary School. The school principal has requested that Mrs.
      Quinn not return to his school as an MFLC counselor, and we support this
      request.” Doc. 30-6, pg. 17, lines 23-25.
                                         26.
Ms. Quinn did not “disrupt” the learning environment at Parkway Elementary
School are false. She did not follow Jr. around between classes at Parkway
Elementary School. She did not interfere with the learning environment at
Parkway Elementary School. She continued to complete her assigned job duties—
providing counseling to MFLC students—until she was reassigned from my post at
Parkway Elementary School. Declaration of J. Quinn, para 10.
                                         27.
Ms. Quinn’s employment performance at Parkway Elementary was satisfactory. It
was not until she complained of racial discrimination that she was alleged to have
been “disruptive” to the learning environment. Doc. 30-7, pg. 54, lines 3-11.
                                         28.
Only two months after Ms. Quinn engaged in protected activity of reporting racial
discrimination, Columbia County School District requested that she be reassigned
from her Parkway Elementary School placement. Declaration of J. Quinn, para. 15.
                                         29.
Only a few months after engaging in protected activity, Ms. Quinn was transferred
to work in another school district altogether, Richmond County for the 2021-2022
academic year. Doc. 30-4, pg. 111, lines 18-23.



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                                        30.
Because of the transfer to Richmond County, Ms. Quinn incurred additional
commuting expenses and time. Doc. 30-4, Exhibit 4, Gas Receipts.



This 22nd day of May 2023.




                                                          /s/ Angelik Edmonds
                                                              Angelik Edmonds
                                                          Attorney for Plaintiff
                                                              GA Bar: 650757
                                       Edmonds Law Office of Civil Rights LLC
                                               135 Auburn Avenue NE, Suite B
                                                       Atlanta, Georgia 30303
                                                              O: 678-404-1239
                                                          F: +1 678-623-9090
                                                  E: angie@aedmondslaw.com




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D.J.Q. Jr.                              )
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Plaintiffs,                             )
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v.                                      )Civil Action No. 1:22-cv-00051-JRH-BKE
                                        )
COLUMBIA COUNTY                         )
SCHOOL DISTRICT                         )
                                        )
                                        )      JURY TRIAL DEMANDED
                                        )
                                        )
Defendant.                              )


                          CERTIFICATE OF SERVICE


This is to certify that I electronically served Plaintiffs’ Statement of Additional

Material Facts to the attorneys of record, Leonard O. Fletcher, Jr. at




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lofletcher@fhflaw.com, William L. Fletcher, Jr. at willfletcher@fhflaw.com and

Troy A. Lanier at tlanier@tlanierlaw.com.


DATE: This 22nd day of May, 2023


                                                         Respectfully submitted,

                                                           /s/Angelik Edmonds
                                                              Angelik Edmonds
                                                         Attorney for Plaintiffs
                                                               GA Bar: 650757
                                        Edmonds Law Office of Civil Rights LLC
                                                     135 Auburn Ave., Suite B
                                                       Atlanta, Georgia 30303
                                                              O: 678-404-1239
                                                           F: +1 678-623-9090
                                                  E: angie@aedmondslaw.com




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